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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK

   THE ROMAN CATHOLIC DIOCESE
   OF BROOKLYN, NEW YORK,
                                                               20-cv-4844-N GG

                                 Plaintiff,                    SETTLEMENT
                                                               AGREEMENT AND
           - against -                                         [P'ROt'68EI>] FINAL
                                                               JUDGMENT
   GOVERNOR ANDREW M. CUOMO,
   in his official capacity,

                                 Defendant.




         This SETTLEMENT AGREEMENT AND [l"ft:OfOSEBf FINAL ITJDGMENT ("Settlement

  Agreement") is made by and between Plaintiff The Roman Catholic Diocese of Brooklyn, New York

  ("Plaintiff'') and Defendant Governor Andrew M. Cuomo, in his official capacity as Governor of the

  State of New York ("Governor Cuomo" or "Defendant"), collectively, "the Parties," on this 28th day

  of June, 2021, as follows:

         WHEREAS, there is pending in this Court the above-captioned action ("Action"), commenced

  by Plaintiff, asserting a First Amendment Free Exercise challenge to the fixed-capacity restrictions on

  indoor gatherings in houses of worship, which restrictions were imposed pursuant to the declaration

  of a "State disaster emergency for the entire State of New York" proclaimed by Governor Cuomo in

  Executive Order 202 ("Disaster Declaration"); and

         WHEREAS, on or about October 6, 2020, Governor Cuomo issued Executive Order ("EO")

  202.68, which provides, in relevant part, that attendance at houses of worship in geographic areas

  within New York State designated as "red zones" must be limited to the lesser of twenty-five percent

  (25%) of maximum occupancy or ten (10) people, and that attendance at houses of worship in
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  geographic areas within New Yorlc State designated as "orange zones" must be limited to the lesser

  of thirty-three per cent (33%) of maximum occupancy or twenty-five (25) people; and

          WHEREAS, on October 8, 2020, Plaintiff filed a complaint commencing the Action, as well

  as a motion for a temporary restraining order and a motion for a preliminary injunction, alleging,

  pursuant to 42 U.S.C. § 1983, that EO 202.68's fixed-capacity limits of ten and twenty-five people

  violate the Free Exercise Clause of the First Amendment as applied to Plaintiff's churches; and

          WHEREAS, Plaintiff's motion for a temporary restraining order was denied by Order of this

  Court (Komitee, U.S.D.J.), dated October 9, 2020, and Plaintiff's motion for a preliminary injunction

  was denied by Order of this Court (Garaufis, U.S.D.J.), dated October 16, 2020; and

          WHEREAS, on November 25, 2020, the United States Supreme Court granted Plaintiffs

  application for an emergency writ of injunction pending appeal, holding that the fixed-capacity

  restrictions "cannot be viewed as neutral because they single out houses of worship for especially

  harsh treatment," such that strict scrntiny applies, and that it was "hard to see how the challenged

  regulations can be regarded as 'narrowly tailored," Roman Catholic Diocese of Brooklyn, NY. v.

  Cuomo, 1418.Ct.6:3,66-67 (2020) (per curiam); and

         WHEREAS, on December 28, 2020, the United States Court of Appeals for the Second Circuit

  held that "the fixed capacity ... limits on houses of worship are subject to strict scrutiny" and "also

  bear little relation to the particular COVID-19 transmission risks the Governor identifies," Agudath

  Israel of Am. v. Cuomo, 983 f ;3d 620, 632233 (2d Cir. 2020), and therefore reversed this Court's

  Order dated October 16, 2020 and remanded to this Court with instructions to grant preliminary

  injunctive relief, id at 637; and

         WHEREAS, on December 29, 2020, this Court entered a minute order preliminarily enjoining

  Executive Order 202.68's fixed-capacity limits as applied to Plaintiff; and

         WHEREAS, on February 8, 2021, the Hon. Kiyo A. Matsumoto of this Court issued a


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  permanent injunction in the case of Agudath Israel of America v. Cuomo, Case No. 1:20-cv-04834,

  ECF No. 44, enjoining Defendant and all State officers, agents, and employees responsible for

  enforcing EO 202.68 from enforcing the fixed-capacity limits (as well as the 25% and 33%

  percentage-capacity limits) provided by EO 202.68, and provided that the injunction shall apply "to

  all houses of worship, respectively in red and orange zones in New York State" ("Agudath

  Injunction"); and

          WHEREAS, on February 12, 2021, Governor Cuomo issued EO 202.93, which modified EO

  202.68 by providing that "there shall not be capacity restrictions on houses of worship located within

  the geographic areas designated by the New York State Department of Health (the "Department") as

  'red,' 'orange,' or 'yellow' zones, beyond the restrictions contained in the Department guidance

  relating to such facilities"; and

          WHEREAS, the Agudath Injunction and EO 202.93, both of which apply to all houses of

  worship located within the geographic areas designated by the Department as "red," "orange," or

  "yellow" zones in the State of New York, provide Plaintiff with the full relief sought on its Free

  Exercise claim; and

          WHEREAS, on May 6, 2021, Governor Cuomo issued EO 202.106, which repealed "[t]he

  directive contained in Executive Order 202.68, as extended and modified, that directed the Department

  of Health to determine areas in the State that require enhanced public health restrictions based upon

  cluster-based cases of COVID-19,"

          NOW, THEREFORE, IT IS STIPULATED, AGREED, AND ORDERED AS

  FOLLOWS:

          1.      Final Judgment in Favor of Plaintiff

          Upon the Comt "so ordering" this Stipulation, final judgment is entered in favor of Plaintiff

  on its First Amendment Free Exercise claim asserted in this Action enjoining Defendant from


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  enforcing the fixed-capacity limits set forth in EO 202.68.

          2.      Enforcement of Capacity Limits on Indoor Religious Gatherings

          So long as the Disaster Declaration remains in effect, Defendant and all State officers, agents,

  and employees who are responsible for enforcing executive orders, guidance documents, or other

   pandemic-related regulations, shall not enforce against Plaintiff's houses of worship any capacity

  limits regarding indoor religious gatherings that are inconsistent with the Agudath Injunction. While

  the Disaster Declaration remains in effect, gatherings at Plaintiffs houses of worship shall remain

  subject to all generally applicable Department public health guidance (such as requirements, if any,

  for facial coverings, social distancing, and cleaning and sanitizing protocols), which may be updated

  as public health conditions require. This Settlement Agreement shall not preclude Plaintiff from

  challenging, in a new action, any future restrictions that are issued by Defendant subsequent to the

  execution of this Settlement Agreement and which are inconsistent with the provisions of the Agudath

   Injunction.

          3.      Payments to Plaintiff and Plaintifr s Attorneys

          In full consideration of Plaintiffs execution of this Settlement Agreement, its agreement to be

   bound by its terms, and its undertakings as set forth herein, including the final resolution of the Action,

  and other good and valuable consideration, the sufficiency of which is hereby acknowledged, the State

  ofNew York, on behalf of the Defendant, shall pay the gross sum of FOUR HUNDRED THOUSAND

  DOLLARS ($400,000.00), for which I.R.S. Form 1099 shall be issued to Plaintiffs counsel in this

  amount, in full and complete satisfaction of any and all claims, allegations, or causes of action for

  attorneys' fees, costs, disbursements, and expenses incurred by Plaintiff or Plaintiffs attorneys for

   any and all counsel who have at any time represented or assisted Plaintiff in the Action, or in

  connection with any other proceeding (administrative, judicial, or otherwise) and any other claim or

   action arising from, related to, based upon, or alleging any of the acts, transactions, occurrences, or


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  omissions asserted or purportedly asse1ted in the Action. The foregoing payment shall be made

  payable to: "Gibson Dunn & Crutcher LLP, as counsel for The Roman Catholic Diocese of Brooklyn,

  New York" and mailed to: c/o Randy M. Mastro, Gibson Dunn & Crutcher LLP, 200 Park Avenue,

  New York, NY 10166.

         4.      State Approval of Payments

         The payments referenced in Paragraph 3 of this Settlement Agreement are conditioned upon

  and subject to the approval of all appropriate state officials in accordance with N.Y. Public Officers

  Law § 17. Plaintiff and Plaintiffs attorneys agree to promptly execute and deliver all necessary and

  appropriate vouchers and other documentation requested with respect to obtaining such approval and

  effectuating payment.

         5.      Accrual of Interest

         In the event that the payments referenced in Paragraph 3 of this Settlement Agreement have

  not been made by the one hundred twentieth (120th) day after the receipt by the Office of the Attorney

  General of a "So Ordered" copy of this Settlement Agreement, entered on the docket by the Clerk of

  the Court, together with all other requested documentation required under Paragraph 4 of this

  Settlement Agreement, interest on any part of the sum not paid by the end of the one hundred twentieth

  (120th) day shall accrue on the outstanding principal balance at the statutory rate prescribed by

  28 u.s;c. § 1961, commencing on the one hundred and twenty-first (121st) day after receipt by the

  Office of the Attorney General of all documentation required under Paragraph 4 of this Settlement

  Agreement.

         6.      Liability for Taxes

         Any taxes, or interest or penalties on taxes, on the payments referenced in Paragraph 3 of this

  Settlement Agreement shall be the sole and complete responsibility of Plaintiff, and its attorneys for

  fees paid to said attorneys. Plaintiff and its attorneys agree and acknowledge that they shall have no


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   claim, right, or cause of action against Governor Cuomo and/or the State of New York, or any of their

  present of former agencies, departments, divisions, officers, employees, agents, attorneys, and assigns,

  whether in an individual or official capacity, or any of them, or all of them, on account of such taxes,

   interest, or penalties.

           7.      Responsibility for Liens.

           Plaintiff and Plaintiffs attorneys agree that neither Governor Cuomo nor the State of New

  York (including, but not limited to, any and all agencies, departments, and subdivisions thereof and

  any of its officials, employees, or agents, whether in their individual or official capacities) shall be

  responsible for any liens of any kind (including, but not limited to, any and all workers' compensation,

  tax, or child support liens) which may attach to the payments referenced in Paragraph 3 of this

  Settlement Agreement by operation of law or otherwise. Plaintiff and Plaintiffs attorneys agree and

   acknowledge that they shall have no claim, right, or cause of action against Governor Cuomo and/or

  the State of New York (including, but not limited to, any and all agencies, departments, and

  subdivisions thereof and any of its officials, employees, or agents, whether in their individual or

  official capacities) for the satisfaction of any such liens.

           8.      Release in Favor of Defendant

           For and in consideration of the agreement set forth in this Settlement Agreement and other

  good and valuable consideration, the sufficiency and receipt of which are hereby acknowledged, and

  except for the rights and obligations set fo1th in this Settlement Agreement, Plaintiff, on behalf of

  itself, administrators, successors, and assigns (collectively, "Releasing Parties"), hereby releases and

  forever discharges Governor Cuomo and the State of New York, together with their present and former

  agencies, authorities, commissions, departments, divisions, subdivisions, subsidiaries, administrators,

  principals, officers, employees, directors, members, agents, attorneys, insurers, and assigns, whether

   in an individual or official capacity, or any of them, or all of them (collectively, "Released Parties")


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   from all manner of actions, proceedings, suits, grievances, injuries, debts, obligations, dues, sums of

   money, accounts, contracts, controversies, agreements, promises, damages, judgments, claims, and

   demands whatsoever, direct or indirect, known or unknown, discovered or undiscovered, that the

   Releasing Parties incurred in connection with the Action up to and including the date of this Settlement

  Agreement related to any and all rights, claims, causes of action, grievances related to or arising out

   of the acts, transactions, occmTences, or omissions that are described, alleged, or contained in the

  Action. Plaintiff is not waiving or releasing any nonwaivable statutory protections or any

   constitutional rights.

           9.      No Other Action or Proceeding Commenced.

           Other than the Action, Plaintiff represents that it has not commenced, maintained, or

  prosecuted any action, charge, complaint, grievance, or proceeding of any kind that is still pending

  against the Released Parties that would be subject to the release contained in paragraph 8, on its own

   behalf or on behalf of any other person and/or on behalf of or as a member of any alleged class of

  persons, that none of the foregoing is currently pending in any court or before any administrative or

  investigative body or agency, and acknowledges that this representation constitutes a material

  inducement for Defendant to enter into this Settlement Agreement.

          10.     Waiver of Attorneys' Lien

          The undersigned attorneys for Plaintiff do hereby release and waive any attorneys' lien they

  may have on the settlement proceeds in the Action pursuant to N.Y. Judiciary Law§§ 475 and 475-a

  or any other state or federal law, statute, contract, or otherwise.

          11.     No Other Attorney

          Plaintiff represents and wairnnts that besides the undersigned attorneys for Plaintiff, there are

  no other attorneys that have a lien on the settlement proceeds in the Action pursuant to the provisions

  of N.Y. Judiciary LayV §§ 475 and 475-a or any other state or federal law, statute, contract, or


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  otherwise.

          12.    Prevailing Party

         Plaintiff shall be deemed a "prevailing party" for all purposes with respect to the Action.

         13.     Binding Effect on Successors and Assigns

         The terms, conditions and obligations set forth in this Settlement Agreement shall inure to the

  benefit of, and be binding upon, the successors and assigns of each party hereto.

         14.     Authority

         Each signatory to this Settlement Agreement hereby represents and warrants that he, she, or it

  has the requisite authority to enter into this Settlement Agreement, and has not previously assigned or

  transferred any rights or interests with respect to the matters covered by this Settlement Agreement.

         15.     Voluntary Agreement

         Plaintiff represents that it has thoroughly discussed with counsel all aspects of this Settlement

  Agreement, and Plaintiff represents that it has carefully read and fully understands all of the provisions

  of this Settlement Agreement. Plaintiff represents that it executes and delivers this Settlement

  Agreement voluntarily after being fully informed of its terms, contents, and effect, and acknowledges

  that it understands its terms, contents, and effect. Plaintiff acknowledges that no compromise or

  representation of any kind, other than as set forth or referred to herein, has been made to any party or

  anyone acting on behalf of any party.

           16.   Negotiated Agreement

           The Parties acknowledge that each party has cooperated in the drafting and preparation of

  this Settlement Agreement. The language in all parts of this Settlement Agreement shall be construed

  according to its fair meaning and not strictly for or against any party.




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          17.    Entire Agreement

          This Settlement Agreement constitutes the entire agreement between the Parties hereto

  pertaining to the Action, and supersedes and embodies, merges and integrates all prior and current

  agreements and understandings of the Parties, whether written or oral, with respect to the Action and

  this Settlement Agreement, and may not be clarified, modified, changed, or amended except in a

  writing duly executed by the Parties or an authorized representative of the Parties.

          18.     Governing Law

          The te1ms of this Settlement Agreement shall be governed by, and constrned in accordance

  with, the laws of the State of New York applicable to contracts to be performed wholly within the

  State of New York, except to the extent that federal law may apply to the releases and waiver of federal

  claims pursuant to this Settlement Agreement.

          19.     Severability

         With the exception of paragraphs 1, 2, 3, 4, 6, 7, 8, 9, 10, 11 and 13 of this Settlement

  Agreement, if any other provision of this Settlement Agreement shall be held by a court of competent

  jurisdiction to be invalid, void, or unenforceable in whole or in part, such decision shall not invalidate

  the remaining portion or affect its validity.

         20.     Headings

         The headings contained in this Settlement Agreement are for convenience of reference only

  and are not a material part of this Settlement Agreement.

         21.      Submission to the Court

         This Settlement Agreement shall be submitted, without further notice, to the Court to be "So

  Ordered."




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                 22.         CountcrparL~

                 This Settlement Agreement may be executed in several counterparts, each of which shall be

        deemed an original and which, taken together, shall constitute one and the same instrument. Signatures

        transmitted by facsimile, e-maiJ, or e-mailed in portable document fonn shall be deemed original

        signatures.

                 IN WITNESS WHEREOF, the Parties acknowledge thal they have read this Settlement

        Agreement, and accept and agree to the provisions set forth herein, and that each has executed this

        Settlement Agreement to be effective on the day and date first above written.

        Dated: New York, New York                       Dated: New York, New York
               June 29, 2021                                June 28, 2021

         GIBSON, DUNN & CRUTCHER, LLP                   LETITJA JAMES
         Attorneys for Plaintiff                        Attomey General

                 By:    ¥ (Y\¼A,
                       Randy M. Mastro
                                                        State of New York
                                                        Attorney for Defendant

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                 200 Park A venue                                Seth J. Farber
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                                                                 Se!h.Farber@ag.nv.gov

                                                         Dated: Alban)'., New York
                                                                June~, 2021

                                                         GOVERNOR ANDREW M. CUOMO
                                                        foHisO~
                                                         By:      ~
                                                                 Beth Garvey
                                                                 Acting Counsel to the Governor


        SOQRDERED:
        s/Nicholas G. Garaufis
            l'M,,X,VV/ wv l'-J \j(,U
        Unit dSlates District Judge
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        Dated:         7 /   I   G):J.. )
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